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                 UNITED STATES COURT OF APPEALS
                      FOR THE THIRD CIRCUIT
                          ______________

                                No. 19-3018
                              ______________

                      DR. RICHARD E. FISCHBEIN,
                                                          Appellant
                                       v.

          OLSON RESEARCH GROUP, INC.; JOHN DOES 1-12
                       ______________

              On Appeal from the United States District Court
                 for the Eastern District of Pennsylvania
                      (D.C. Civ. No. 2-17-cv-05601)
               District Judge: Honorable Gerald J. Pappert
                             ______________

                                No. 19-3222
                              ______________

                    ROBERT W. MAUTHE M.D., P.C.,
Individually and as the representative of a class of similarly situated persons,
                                                          Appellant
                                      v.

            ITG, INC.; ITG INVESTMENT RESEARCH, INC.;
                            M SCIENCE LLC
                            ______________

              On Appeal from the United States District Court
                 for the Eastern District of Pennsylvania
                      (D.C. Civ. No. 5-18-cv-01968)
                District Judge: Honorable Chad F. Kenney
                             ______________

                           Argued March 24, 2020

   BEFORE: JORDAN, RESTREPO and GREENBERG, Circuit Judges.
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                                            JUDGMENT
                                          ______________

       These causes came on to be considered on the record on appeal from the United
States District Court for the Eastern District of Pennsylvania and were argued on March
24, 2020. On consideration whereof, it is hereby

      ORDERED and ADJUDGED that the orders of dismissal of August 26, 2019, in
No. 19-3222, and August 29, 2019, in No. 19-3018, are reversed and the matters are
remanded to the District Courts in the Eastern District of Pennsylvania for further
proceedings.

        Costs taxed against appellees.

                                                     ATTEST:


                                                     s/ Patricia S. Dodszuweit
                                                     Clerk
Dated: May 15, 2020


Costs taxed in favor of the Appellants as follows:

  For Appellant Richard Fischbein in No. 19-3018 costs taxed in the amount of $634.60

  For Appellant Robert W. Mauthe in No. 19-3222 costs taxed in the amount of $634.60

            Total Costs Taxed Against Appellees…………………….$1269.20




 Certified as a true copy and issued in lieu
 of a formal mandate on July 21, 2020


Teste:
Clerk, U.S. Court of Appeals for the Third Circuit


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